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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  NORTHERN DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
vs.                                               )   CR. NO. 2:07cr098-WHA
                                                  )
MICHAEL CARL TOLES, JR. and                       )
ADAM EARL ERVIN                                   )


                                             ORDER

         This case is before the court on Defendant’s Unopposed Motion to Continue Trial (Doc.

#31), filed by the Defendant, Michael Carl Toles, Jr., on July 2, 2007. Counsel for the moving

Defendant has advised the court that neither the United States nor the co-defendant opposes the

motion.

         For the reason that additional time is needed for the Defendant Toles to complete

cooperation with the Government and to negotiate the terms of a plea agreement, the court finds

that the ends of justice to be served by granting a continuance outweigh the rights of the

Defendants and the public to a speedy trial. Therefore, the motion is GRANTED, and it is

hereby

         ORDERED that the trial of this case is CONTINUED from the August 6, 2007 trial term

to the term of court commencing October 15, 2007.

         It is further ORDERED that the Magistrate Judge schedule another pretrial hearing at an

appropriate time in advance of the new trial date.

         DONE this 3rd day of July, 2007.



                                              /s/ W. Harold Albritton
                                              W. HAROLD ALBRITTON
                                              SENIOR UNITED STATES DISTRICT JUDGE
